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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 ELMOSTAFA AIT SALAH,

       Plaintiff,
                                                        CASE NO.: 3:22-CV-00733
 v.

 NATIONAL RAILROAD PASSENGER
                                                        JUNE 1, 2022
 CORPORATION d/b/a AMTRAK,

       Defendant.


             JOINT REQUEST FOR REFERRAL TO MAGISTRATE JUDGE
                    FOR EARLY SETTLEMENT CONFERENCE

       Defendant National Railroad Passenger Corporation d/b/a Amtrak (“Amtrak”) and Plaintiff

Elmostafa Ait-Salah hereby request a referral to a Magistrate Judge for purposes of an early

settlement conference.

       In addition, Amtrak also respectfully requests a stay of the deadline to Answer or otherwise

respond to the Plaintiff’s Complaint and a stay of the deadline by which the Parties must file a

26(f) Report until after the settlement conference has concluded, if unsuccessful.




Dated: June 1, 2022                                Respectfully submitted,
                                                   /s/ Maura A. Mastrony
                                                   Maura A. Mastrony (ct27787)
                                                   Lindsay M. Rinehart (ct30921)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2022 a copy of the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the court’s electronic filing system. Parties may access this

filing through the Court’s electronic filing system.



                                                       /s/ Maura A. Mastrony
                                                       Maura A. Mastrony




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